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                     EXHIBIT 5
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                                             As filed with the Securities and Exchange Commission on May 11, 2007

                                      UNITED STATES
                           SECURITIES AND EXCHANGE COMMISSION
                                                                           Washington, D.C. 20549

                                                                           FORM 20−F
(Mark One)
   REGISTRATION STATEMENT PURSUANT TO SECTION 12(b) OR 12(g) OF THE SECURITIES EXCHANGE ACT OF 1934
    ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
    for the fiscal year ended December 31, 2006
    TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
    for the transition period from ____________ to ____________
    SHELL COMPANY REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
    date of event requiring this shell report

                                                                   Commission File Number: 001−14974

                                                                         THOMSON
                                                          (Exact name of Registrant as specified in its charter)

                                  Not Applicable                                                                           Republic of France
                    (Translation of Registrant’s name into English)                                              (Jurisdiction of incorporation or organization)


                                                                 46, quai Alphonse Le Gallo
                                                           92100 Boulogne−Billancourt − France
                                                          (Address of principal executive offices)
                                       Securities registered or to be registered pursuant to Section 12(b) of the Act:

                                   Title of each class:                                                          Name of each exchange on which registered:
    Common Stock, nominal value €3.75 per share, and American                                                            New York Stock Exchange
  Depositary Shares, each representing one share of Common Stock

                               Securities registered or to be registered pursuant to Section 12(g) of the Act: None
                         Securities for which there is a reporting obligation pursuant to Section 15(d) of the Act: None
                     Indicate the number of outstanding shares of each of the issuer’s classes of capital or common stock
                                            as of the close of the period covered by the annual report:
                                           Common Stock, nominal value €3.75 per share: 273,871,296
Indicate by check mark if the registrant is a well−known seasoned issuer, as defined in Rule 405 of the Securities Act: Yes             No
If this report is an annual or transition report, indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or 15(d) of the Securities
Exchange Act of 1934: Yes         No
Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934 during the
preceding 12 months (or for such shorter period that the Registrant was required to file such reports) and (2) has been subject to such filing requirements for the past
90 days: Yes        No
Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, or a non−accelerated filer. See definition of “accelerated filer and large
accelerated filer” in Rule 12b−2 of the Exchange Act. (Check one):
Large accelerated filer      Accelerated filer     Non−accelerated filer
Indicate by check mark which financial statement item the Registrant has elected to follow: Item 17            Item 18
If this is an annual report, indicated by check mark whether the registrant is a shell company (as defined in Rule 12b−2 of the Exchange Act). Yes               No




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In 2004, Thomson had also entered into a receivables purchase and sale agreement with TTE, effective for up to two years, and assumed
certain of TTE’s restructuring costs up to a maximum of €33 million. Further, in 2004, Thomson granted TCL Multimedia (formerly TCL
International) the option to acquire up to 2.5 million Thomson shares at a price of €18.12 per share, which expired unexercised in 2006.

The parties to the Combination Agreement and TTE also entered into a shareholders’ agreement in 2004, which was cancelled and replaced
in connection with the exercise by Thomson on August 10, 2005 of its option to convert its 33% holding in TTE, a private joint venture
company, into a 29.32% interest in TCL Multimedia, listed on the Hong Kong Stock Exchange and substantially all of whose assets comprise
its interest in TTE. The resulting shareholders’ agreement between Thomson and TCL included undertakings not to compete with TTE’s
television business and restrictions (or “lock−up”) on Thomson’s ability to transfer its interest in TCL Multimedia for up to a period of five years
from the closing date of the Combination Agreement.

Over the course of 2006, TTE encountered a very challenging market environment for its products and services, particularly in Europe, and
initiated substantial restructuring efforts in response. To facilitate TTE’s restructuring and evolution in Europe and to resolve certain financial
and other issues under the existing contractual framework, Thomson entered into preliminary agreements in October 2006 with TCL
Multimedia, TTE and its subsidiary, TTE Europe, which were implemented through definitive agreements executed in February 2007. Among
other arrangements, these agreements provide for:

•    a continuation of activities at Thomson’s factory in Angers pursuant to its subcontracting relationship with TTE until 2008 (instead of 2009
     as initially agreed in 2004) through the maintenance of substantially reduced TTE order levels. Thomson consequently announced the
     downsizing of the Angers site, as discussed above under “Displays & CE Partnerships—Non−Core”;

•    TTE’s license to use the Thomson brand in respect of televisions to cease at end of 2008 for most of Europe. In addition, the license fees
     prepaid by TTE will be mostly reimbursed by Thomson, in line with the sharply decreasing television sales by TTE in Europe;

•    a settlement of the amounts due pursuant to the receivables purchase and sale agreement referred to above and certain other
     receivables and payables.

In connection with these arrangements, the share transfer “lock−up” referred to above was released on October 12, 2006 and Thomson
reduced its interest in TCL Multimedia to 19.32% on November 3, 2006. As a result, Thomson’s interest in TCL Multimedia is no longer
accounted under the equity method.

The expected financial effects of these recent changes in our contractual relationship with TCL Multimedia and TTE referred to above,
together with the loss on sale of the interest sold on November 3, 2006 and the mark−to−market of our remaining interest in TCL Multimedia,
are provided for in Thomson’s 2006 results (see Item 5: “Operating and Financial Review and Prospects—Results of operations for 2006 and
2005”).

Displays
In the course of 2005, Thomson disposed of the bulk of its Displays activities, which were therefore treated as discontinued operations in the
consolidated financial statements as of and for each of the years ended December 31, 2006, 2005 and 2004, as described below under
“—Discontinued Operations”. As a result, of our original Displays activities, only the Displays activities located at our Genlis facilities and the
Torreon manufacturing site located in Mexico were reported as continued operations. In 2006, Thomson announced the restructuring of
Genlis’ Displays Development activity and manufacturing of guns and parts for CRTs and equipment activities.


Discontinued Operations
In 2005, Thomson achieved the key steps in its disengagement from its Displays activity through the disposal of the following tubes
manufacturing activities and related glass manufacturing operation. As a result, the assets specified below are treated as discontinued
operations in consolidated financial statements as of and for the years ended December 31, 2006, 2005 and 2004:

On February 28, 2005, Thomson completed the transfer of its cathode−ray tube plant at Anagni, Italy to Eagle Corporation, an entity owned
by the Videocon Group.

On September 30, 2005, Thomson completed the transfer of its tubes assembly assets in Poland, China and Mexico, a research laboratory in
Italy and sale, marketing and administrative functions mainly in Boulogne, France to Eagle Corporation. Pursuant to the agreement entered
into with the Videocon Group, Thomson also transferred to Videocon the preferential displays supply agreement entered into with TTE in
August 2004. Upon completion of the transaction, Thomson received a payment of €240 million in cash from Eagle Corporation for Thomson’s
tubes activities and related technologies. Simultaneously, Thomson invested €240 million in Videocon Industries, an oil and gas company that
is also active in the consumer electronic and consumer electronic components markets, through the subscription in a private placement of
Global Depository Receipts (each representing one underlying share of Videocon Industries) (“GDRs”) listed on the Luxembourg Stock
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Exchange. Payment was made in full on September 30, 2005, while the GDR allocation was effected in two tranches: 28,650,000 GDRs on
September 30, 2005 and 217,200 GDRs on December 21, 2005. All GDRs were purchased at a price of U.S.$10 each. Following this
investment, Thomson held approximately 13.1% of the share capital of Videocon Industries. In connection with this investment, Thomson
entered into a shareholders’ agreement with Videocon Industries and its shareholders, which restricts Thomson’s ability to transfer its interest
in Videocon Industries for a period of three years, subject to certain exceptions. See Item 5: “Operating and Financial Review and
Prospects—Evolution of division structure—Changes in scope of consolidation in 2005—Main disposals” for a description of these exceptions
to the share transfer restrictions. Pursuant to those restrictions, Thomson sold a small number of shares in 2006 in two transactions,
decreasing its holding to 11.8% by the year−end.



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On December 23, 2005, Thomson completed the transfer of its glass manufacturing facility at Bagneaux−sur−Loing, France, to the Spanish
group, Rioglass.

Thomson also announced on December 12, 2005, that it had decided to seek partners for its Audio/Video business, its Accessories business
and its after sales businesses for both Europe and the United States within its former business unit, Connectivity. The perimeter of businesses
included in the disposal process was enlarged in the first half of 2006 to include our retail terrestrial decoder business. As a result, those
activities (together the “AVA” businesses) are reported as discontinued operations in our consolidated financial statements as of and for each
of the years ended December 31, 2006, 2005 and 2004.

The disposal of our AVA businesses has progressed with the disposal of the North American Accessories business to Audiovox, which was
announced on December 21, 2006 and completed on January 29, 2007. The proceeds from this disposal during 2007, combining purchase
price and working capital, are estimated at around U.S.$ 70 million. The proposed disposal of the European AVA business to Oristano which
was announced in October 2006 will not be completed. With the separation of the North American Accessories business from the North
American AV business, Thomson is now remarketing the AVA Europe and AV North America businesses, with the intention of completing the
disposal of these businesses as soon as possible in 2007.

In addition, Thomson sold to the Taiwanese company, Foxconn, its optical pick−up manufacturing activity in 2004. In 2005, Thomson agreed
to transfer to the German company, Harman Becker, its remaining research and product development assets and employees in this business
in the first quarter of 2006.

In 2006, Thomson also disposed of the following minor assets which are included in the discontinued operations perimeter:

•    a cathode ray gun manufacturing plant located in Belo Horizonte, Brazil, to Cirubrás Indústria Médica Cirúrgica e Hospitaler Ltda, Terra e
     Teto Administraçao e Comercio Ltda, Colméia Indústria e Agropecuária do Norte S.A.;

•    some minor residual Displays activities based at the Genlis facility to Metalis and Thomas Electronics; and

•    Thomson’s minority interest in Konka, a Chinese television manufacturer.

For a description of the financial implications resulting from these disposals, see Item 5: “Operating and Financial Review and
Prospects—Results of Operations for 2006 and 2005—Profit (Loss) From Discontinued Operations” and “Operating and Financial Review and
Prospects—Results of Operations for 2005 and 2004—Profit (Loss) From Discontinued Operations.”


Business Operations
Thomson has implemented a global Business Operations function focusing on improving the operational and financial performances of its
divisions by deploying cross−divisional programs and optimizing certain global central functions, such as Sourcing. The programs the Group
launched in 2004 to improve productivity and enhance overall performance produced good results in 2006, and this has led to the introduction
of new initiatives. Currently six key programs are monitored at the Group level: Clients, Software, Product Introduction, Operations, Talent
Management and the Process Transformation Initiative (PTI).



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